                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF IOWA
                           WESTERN DIVISION

 UNITED STATES OF AMERICA,
              Plaintiff,                               No. CR05-4085-MWB
 vs.
                                                              ORDER
 LENARD MORRIS,
              Defendant.
                           ____________________________

       This matter comes before the court on the defendant’s motion to modify sentence
(docket no. 262) and amended motion to modify sentence (docket no. 266). The defendant
filed the former motion on June 17, 2013, and the latter motion on July 8, 2013. The
court lacks the authority to further reduce the defendant’s sentence under 18 U.S.C. §
3582(c)(2) and USSG §1B1.10. Moreover, 18 U.S.C. § 3582(c)(2) does not permit a
court to determine whether the government should have relied on 18 U.S.C. § 3553(e)
during the defendant’s sentencing hearing. Accordingly, the defendant’s motion to modify
sentence (docket no. 262) and amended motion to modify sentence (docket no. 266) are
denied.
       IT IS SO ORDERED.
       DATED this 6th day of January, 2015.


                                               __________________________________
                                               MARK W. BENNETT
                                               U. S. DISTRICT COURT JUDGE
                                               NORTHERN DISTRICT OF IOWA




   Case 5:05-cr-04085-LTS-KEM        Document 274      Filed 01/06/15   Page 1 of 1
